Case 2:21-cv-04405-RGK-MAR Document 138 Filed 08/18/22 Page 1 of 5 Page ID #:6160



    1     THE INSTITUTE FOR JUSTICE
          Robert Frommer*
    2     rfrommer@ij.org
          Michael Greenberg*
    3     mgreenberg@ij.org
          Joseph Gay*
    4     jgay@ij.org
          901 N. Glebe Rd., Suite 900
    5     Arlington, VA 22203
          Tel. (703) 682-9320
    6     Robert E. Johnson*
          rjohnson@ij.org
    7     16781 Chagrin Blvd., Suite 256
          Shaker Heights, OH 44120
    8     Tel. (703) 682-9320
    9     * Admitted pro hac vice.
          THE VORA LAW FIRM, P.C.
   10     Nilay U. Vora (SBN 268339)
          nvora@voralaw.com
   11     Jeffrey Atteberry (SBN 266728)
          jatteberry@voralaw.com
   12     201 Santa Monica Blvd., Suite 300
          Santa Monica, CA 90401
   13     Tel. (424) 258-5190
   14     Attorneys for Plaintiffs
   15                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
   16                                WESTERN DIVISION
   17   PAUL SNITKO, JENNIFER                    Case No. 2:21-cv-04405-RGK-MAR
   18
        SNITKO, JOSEPH RUIZ, TYLER
        GOTHIER, JENI VERDON-
   19
        PEARSONS, MICHAEL STORC,
        and TRAVIS MAY,
   20                                            PLAINTIFFS’ RESPONSE IN
                              Plaintiffs,        OPPOSITION TO DEFENDANTS’
   21                                            OPPOSITION TO EVIDENCE
                   v.                            OFFERED BY PLAINTIFFS’ (ECF
   22                                            133)
        UNITED STATES OF AMERICA,
   23
        TRACY L. WILKISON, in her
        official capacity as Acting United
   24
        States Attorney for the Central
        District of California, and KRISTI
   25
        KOONS JOHNSON, in her official
        capacity as an Assistant Director of    Judge: Hon. R. Gary Klausner
        the Federal Bureau of Investigation,
   26                                           Trial: August 23, 2022
   27                        Defendants.        Complaint Filed: May 27, 2021
                                                Amended Complaint Filed: June 9, 2021
   28

             PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ OPPOSITION TO EVIDENCE
                                   OFFERED BY PLAINTIFFS (ECF 133)
Case 2:21-cv-04405-RGK-MAR Document 138 Filed 08/18/22 Page 2 of 5 Page ID #:6161



    1          Plaintiffs and representatives of the certified class Paul Snitko, Jennifer Snitko,
    2   Tyler Gothier, Joseph Ruiz, Jeni Verdon-Pearsons, Michael Storc, and Travis May
    3   (collectively “Plaintiffs”), respectfully submit the following response to Defendants’
    4   Objections To Evidence (ECF 133).
    5          This Court’s Order for Court Trial (ECF 82) makes clear that the parties “shall”
    6   file four distinct papers as part of the trial on the briefs: “Opening Briefs, Oppositions
    7   and Replies,” as well as “a Joint Separate Statement of Undisputed and Disputed
    8   Facts.” But despite that plain statement, the government failed to submit any sort of
    9   opening brief on July 19, 2022. And now, after the deadlines for the four papers called
   10   for by the Court’s Order have passed, the government has filed a 35-page document
   11   which it labels “Objections to Evidence”—a document nowhere mentioned in that
   12   Order. Because the government’s filing is both procedurally improper and
   13   substantively baseless, this Court should ignore Defendants’ Objections to Evidence
   14   in its entirety.
   15          First, Defendants’ filing is procedurally improper. Neither the Court’s Order
   16   for Court Trial nor any of its standing orders state that parties should (or even may)
   17   file any sort of “objections” subsequent to the parties’ Joint Separate Statement of
   18   Undisputed and Disputed Facts. And the first page of Defendants’ brief does not even
   19   attempt to claim that this Court’s orders authorized its filing. See Objections to
   20   Evidence, ECF 133, at 1. That makes sense, given that the entire point of the Separate
   21   Statement process is to provide the parties a place to raise responses, including
   22   objections, to their opponent’s facts. The government cannot simply grant itself the
   23   authority to submit additional pleadings raising additional responses and objections
   24   to previously submitted evidence without this Court’s authorization. To the extent
   25   that the government failed to raise any evidentiary objections in the Joint Separate
   26   Statement when responding to Plaintiffs’ facts, any such objections are properly
   27   waived.
   28
                                                    1
              PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ OPPOSITION TO EVIDENCE
                                    OFFERED BY PLAINTIFFS (ECF 133)
Case 2:21-cv-04405-RGK-MAR Document 138 Filed 08/18/22 Page 3 of 5 Page ID #:6162



    1         In order to manage their dockets and the behavior of litigants, courts in this
    2   District typically reject surreplies and other briefs that parties, like Defendants, file
    3   in contravention of those courts’ orders. See, e.g., Davis v. Schneider, No.
    4   218CV01910SJOMAA, 2019 WL 5849701, at *2 (C.D. Cal. Sept. 26, 2019), report
    5   and recommendation adopted, 2019 WL 5847828 (C.D. Cal. Nov. 7, 2019) (striking
    6   surreply filed without prior approval); Phu v. Nationstar Mortg. LLC, No.
    7   SACV150285DOCJCGx, 2015 WL 13917998, at *1 (C.D. Cal. Mar. 30, 2015)
    8   (striking surreply that “was filed without leave from the Court in violation of Local
    9   Rule 7-10”); Fed. Trade Comm'n v. John Beck Amazing Profits, LLC, No.
   10   209CV4719FMCFFMx, 2009 WL 10654699, at *1 (C.D. Cal. Aug. 11, 2009)
   11   (striking surreply FTC filed in violation of rules and without court authorization).
   12   Because the government’s filing is not authorized by this Court or any of its orders,
   13   the Court should reject it out of hand.
   14         Second, this Court should pay no heed to the substance of Defendants’
   15   objections. The government generally objects that, by including some facts in the
   16   Joint Separate Statement not specifically cited in Plaintiffs’ opening brief, Plaintiffs
   17   have somehow defied the 20-page limit applicable to opening briefs. It claims that
   18   this means “Plaintiffs’ 178 Facts should not be considered” by the Court at all. See
   19   Objections, ECF 133, at 1:11-14. But the government fails to cite to any case law or
   20   rule in its brief to support its assertion. Just yesterday, this Court rejected the
   21   government’s bid to keep Plaintiffs’ proffered evidence (in the form of deposition
   22   transcripts) out of the record because it cited no authority to support its stance. See
   23   ECF 134 at 3-4 (“The Government cites no binding case law in support of this
   24   position, and the Court can find none.”). The Court should reject the government’s
   25   attempt to do the same thing here.
   26         In any event, the government’s objection fails on its own logic. This Court’s
   27   standing order says that “Memoranda of Points and Authorities in support of or in
   28   opposition to motions shall not exceed 202pages.” Standing Order at 3. But the Joint
              PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ OPPOSITION TO EVIDENCE
                                    OFFERED BY PLAINTIFFS (ECF 133)
Case 2:21-cv-04405-RGK-MAR Document 138 Filed 08/18/22 Page 4 of 5 Page ID #:6163



    1   Separate Statement is not a Memorandum of Points and Authorities; instead, it is its
    2   own separate document specifically and separately called for by the Court’s
    3   scheduling order. And Plaintiffs included these facts to ensure that the record is as
    4   full and complete as possible, both for this Court and, if necessary, the Ninth Circuit.
    5   In a live trial, Plaintiffs could put on as many witnesses and exhibits as needed to
    6   make their case. Yet in this trial on the papers, the government (without any case law
    7   support) argues for a strict page limit as to the facts Plaintiffs can present. This Court
    8   should reject the government’s repeated attempts to shield its actions from the
    9   judiciary and the public.
   10          The government’s blanket objection to Plaintiffs’ responses to the
   11   government’s statements of fact is similarly baseless. The government accuses
   12   Plaintiffs’ responses of having “improperly added argument to 33 out of the
   13   government’s 60 Facts.” Objections, ECF 133, at 1:19-20. But this is not so; in
   14   responding to the government’s facts, Plaintiffs noted whether a particular fact was
   15   undisputed and, insofar as a fact was disputed in whole or in part, simply provided
   16   context to explain the dispute. This is no different than the government’s own
   17   responses to Plaintiffs’ facts. E.g., Defs’ Resp. To Pls. Fact #22, ECF 124 at 7:28-
   18   8:12 (citing additional deposition testimony to dispute the implication of Plaintiffs’
   19   fact); Defs’ Resp. To Pls. Fact #25, ECF 124 at 8:28-9:10 (same). But now the
   20   government claims otherwise to justify its efforts to get the last word in, despite the
   21   clear language of this Court’s order.
   22          Lastly, the government’s specific objections are without merit. Most either
   23   quibble about immaterial details surrounding a fact or say that the fact is somehow
   24   not relevant. Insofar as the government disputes the truthfulness or implication of
   25   any particular fact, their chance to lodge that dispute with the Court was in the Joint
   26   Separate Statement, not in a separate filing not authorized by the Court’s Order. See
   27   supra at 1-2. And as to the relevancy of any particular fact, this is a Trial on the Briefs,
   28   meaning the Court is the final arbiter 3of what evidence it finds relevant and
              PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ OPPOSITION TO EVIDENCE
                                    OFFERED BY PLAINTIFFS (ECF 133)
Case 2:21-cv-04405-RGK-MAR Document 138 Filed 08/18/22 Page 5 of 5 Page ID #:6164



    1   persuasive. Harris v. Rivera, 454 U.S. 339, 346 (1981) (“In bench trials, judges
    2   routinely hear inadmissible evidence that they are presumed to ignore when making
    3   decisions.”). That is why the Ninth Circuit has noted that “in a bench trial, the risk
    4   that a verdict will be affected unfairly and substantially by the admission of irrelevant
    5   evidence is far less than in a jury trial.” EEOC v. Farmer Bros. Co., 31 F.3d 891, 898
    6   (9th Cir. 1994). Thus, this Court is well-equipped to decide what evidence is relevant
    7   when deciding whether the government violated the Fourth Amendment rights of
    8   both Plaintiffs and the hundreds of class members they represent.
    9

   10   Dated: August 18, 2022                     Respectfully Submitted,
   11
                                                   /s/ Robert Frommer s
   12

   13                                               THE INSTITUTE FOR JUSTICE
                                                    Robert Frommer*
   14                                               rfrommer@ij.org
                                                    Michael Greenberg*
   15                                               mgreenberg@ij.org
                                                    Joseph Gay*
   16                                               jgay@ij.org
                                                    901 N. Glebe Rd., Suite 900
   17                                               Arlington, VA 22203
                                                    Tel. (703) 682-9320
   18
                                                    Robert E. Johnson*
   19                                               rjohnson@ij.org
                                                    16781 Chagrin Blvd., Suite 256
   20                                               Shaker Heights, OH 44120
                                                    Tel. (703) 682-9320
   21
                                                    *Admitted pro hac vice.
   22
                                                    THE VORA LAW FIRM, P.C.
   23                                               Nilay U. Vora (SBN 268339)
                                                    nvora@voralaw.com
   24                                               Jeffrey Atteberry (SBN 266728)
                                                    jatteberry@voralaw.com
   25                                               201 Santa Monica Blvd., Suite 300
                                                    Santa Monica, CA 90401
   26                                               Tel. (424) 258-5190

   27                                               Attorneys for Plaintiffs
   28
                                                   4
              PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ OPPOSITION TO EVIDENCE
                                    OFFERED BY PLAINTIFFS (ECF 133)
